                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE

   JOHN ELMY, et al.,

                                 Plaintiffs,                    CIVIL NO. 3:17-cv-01199

   v.                                                           Judge Campbell/Frensley

   WESTERN EXPRESS, INC., et al.,

                                 Defendants.


                ORDER GRANTING FINAL APPROVAL OF
   FLSA COLLECTIVE AND RULE 23 CLASS ACTION SETTLEMENT, SERVICE
 PAYMENTS, AND CLASS COUNSEL’S FEES AND COSTS AND FINAL JUDGMENT

        This matter was set for hearing pursuant to the Court’s Order Granting Preliminary

Approval of Collective Action Settlement, Approval of Settlement Notice, and Notice of Release

of Claims (Doc. 511) entered on May 19, 2022. The Court conducted the Final Fairness Hearing

on August 29, 2022, at which time it considered Plaintiffs’ Unopposed Motion for Final Approval

of the FLSA Collective and Rule 23 Class Action Settlement and Motion for Approval of Service

Payments and Class Counsel’s Fees and Costs. The Court has considered all pleadings filed in

support of final approval of the Settlement, including supporting Declarations and oral arguments

of counsel, and the objections of two Settlement Class Members. The Court now hereby finds and

concludes as follows:

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

   1) Definitions. This Order incorporates by reference the fair, reasonable, and adequate

        definitions, terms and conditions of the Settlement Agreement (Doc. 511-2 at PageID #

        5521-53) (“Settlement Agreement”) which are fully incorporated in and made part of this

        Final Judgment and shall have the same meaning as set forth therein.




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  2) Jurisdiction.   The Court has jurisdiction over the subject matter of the Settlement

     Agreement and all Parties in this Litigation.

  3) Settlement Approval. The Court hereby grants final approval of the Settlement Agreement

     and, pursuant to Fed.R.Civ.P. 23(e) and the FLSA, 29 U.S.C. §201, et seq., finds that the

     settlement satisfies all of the final approval criteria in Moulton v. United States Steel Corp.,

     581 F.3d 344, 349 (6th Cir. 2009), is in the best interest of the Settlement Class Members,

     was the result of extensive arm’s length negotiations with the assistance of an experienced

     mediator, and is fair, reasonable and just. The Court has considered the objections from

     two Settlement Class Members and finds that they do not provide a basis for rejecting or

     modifying the Settlement Agreement. See, e.g., In re Polyurethane Foam Antitrust Litig.,

     168 F. Supp. 3d 985, 1001 (N.D. Ohio 2016) (Overruling objections made by objectors’

     “wishing-for-more” where the objections failed to account for the legal risks and reality of

     litigation); In re Chinese-Manufactured Drywall Prods. Liab. Litig., 424 F. Supp. 3d 456,

     492 (E.D. La. 2020) (same). See also Moore v. Med. Fin. Servs., Inc., No.

     220CV02443MSNCGC, 2021 WL 6333304, at *4 (W.D. Tenn. Nov. 30, 2021), report and

     recommendation adopted, No. 220CV02443MSNCGC, 2022 WL 178835 (W.D. Tenn.

     Jan. 19, 2022) (finding in favor of the settlement where there are only a few objections);

     Peck v. Air Evac EMS, Inc., No. CV 5:18-615-DCR, 2020 WL 354307, at *6 (E.D. Ky.

     Jan. 21, 2020) (same); Gokare v. Fed. Express Corp., No. 2:11-CV-2131-JTF-CGC, 2013

     WL 12094870, at *6 (W.D. Tenn. Nov. 22, 2013) (same); In re Cardizem CD Antitrust

     Litig., 218 F.R.D. 508, 527 (E.D. Mich. 2003) (same). Accordingly, the Settlement

     Agreement is approved in all respects and shall be consummated in accordance with its




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     terms and conditions. The Parties and the Claims Administrator are hereby directed to

     perform the terms of the Settlement Agreement.

  4) Class Notice. The Court finds that the court appointed Claims Administrator completed

     the delivery of the Notice according to the terms of the Settlement Agreement and the

     Preliminary Approval Order. The Court further finds that the Notice:

       A.     Constituted the best Notice practicable under the circumstances,

              including individual Notice to all Settlement Class Members who

              were identified on the class notice list;

       B.     Was reasonably calculated under the circumstances to apprise

              Settlement Class Members of: (I) their rights under the Settlement,

              including the right to object to any aspect of the proposed

              settlement and to be excluded from the settlement; (II) their right

              to appear at the Final Fairness Hearing; (III) The amount of

              attorneys’ fees, litigation expenses, administrative costs and

              service awards to the Named Plaintiffs and Original Discovery

              Representatives requested in the Settlement Agreement; (IV) the

              Released Claims and (V) the binding effect of the Court’s Rulings,

              Orders and Judgment in this action on all persons who are not

              excluded from the Settlement Class;

       C.     Was reasonable and constituted due, adequate and sufficient notice

              to all persons entitled to be provided with such notice;

       D.     Fully satisfied all the applicable requirements of Fed.R.Civ.P. 23,

              due process, and the Court’s Preliminary Approval Order;



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        E.      Fully satisfied the requirements of the Class Action Fairness Act

                (CAFA) of 2005, 28 U.S.C. §1715 (See Doc. [516-2], Declaration

                of Aisha Lange on Implementation of CAFA Noticing).

  5) Release. The Releasing Class Members are permanently barred and enjoined from further

       prosecuting any of the Released Claims against Defendants and the Released Parties,

       consistent with Sections 8 and 9 of the Settlement Agreement.

  6) Injunction Against Asserting Released Claims. All Settlement Class Members are hereby

       forever barred and enjoined from asserting, instituting or prosecuting, directly or indirectly,

       any of the Released Claims in any court or other forum against the Released Parties,

       regardless of whether or not such Settlement Class Member executed a claim form, and

       also as specified in Sections 8 and 9 of the Settlement Agreement.

  7) Service Payments.        The Court finds the requested Service Payments to the Named

       Plaintiffs and Original Discovery Representative of twenty thousand ($20,000.00) Dollars

       for each of the named Plaintiffs John Elmy and Gerald Biernot and five thousand

       ($5,000.00) Dollars for each of Original Discovery Representatives who assisted with

       discovery, Glynn Grays, Rosa Valdez, Jeffrey Uebelhoer, Derrotis Holmes, and Lisa

       Smiley, are fair and reasonable and are hereby approved.

  8)    Allocation and Payment of Settlement Amounts. The Court finds that the proposed plan

        of allocation of the Net Settlement Fund is rationally related to the relative strengths and

        weaknesses of the respective claims asserted and is fair, reasonable and adequate. The

        Claims Administrator is directed to distribute the Individual Settlement Payments to the

        Settlement Class Members or, where applicable, the qualified beneficiary or executor of




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       a deceased Settlement Class Member, within fourteen (14) business days after the

       Settlement Effective Date.

  9)   Attorneys’ Fees. The Court hereby concludes that Class Counsel’s requested fee award

       of $5,000,000 is fair and reasonable and is therefore approved.

  10) Costs and Expenses. The Court hereby concludes that Class Counsel’s costs of

       $53,307.05 are fair and reasonable and are hereby approved.

  11) Payment of Class Counsels’ Attorneys’ Fees, Costs and Expenses.                 The Claims

       Administrator shall pay Class Counsel’s fees and costs, as approved herein, in the form

       and manner provided in the Settlement Agreement.

  12) Continuing Jurisdiction Without Affecting the Finality of this Final Judgment. The

       Court retains continuing jurisdiction over (a) implementation and administration of the

       Settlement Agreement, distribution of the Individual Settlement Payments, Service

       Payments and Class Counsel’s Fees, Costs and Expenses until each and every act agreed

       to be performed pursuant to the Settlement Agreement has been performed and (b) over all

       Parties to this Litigation and the Settlement Class Members for the purpose of enforcing

       and administrating the Settlement Agreement.

  13) Dismissal with Prejudice. The Court hereby dismisses this Litigation and all of the claims

       asserted herein against Defendants, with prejudice.

  14) Final Judgment. The Court finds, for purposes of Fed.R.Civ.P. 54(b), that there is no just

       reason for delay and directs the Clerk to enter this Final Judgment pursuant to Fed.R.Civ.P.

       58 forthwith. Neither modification of the distribution of the Individual Settlement

       Payments nor any action in regard to the award of Class Counsel’s Fees, Costs and

       Expenses shall affect the finality of any portion of this Judgment, nor delay the Settlement



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      Effective Date of the Settlement Agreement and each shall be considered separate for the

      purpose of appellate review of this Order.



      THUS DONE AND SIGNED this 29th          August
                                ___ day of __________________, 2022 at Nashville,

Tennessee.




                                           HON. WILLIAM L. CAMPBELL, JR., JUDGE
                                           UNITED STATES DISTRICT COURT




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